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 1         DECLARATION OF DOJ ATTORNEY JOSEPH A. GONZALEZ
 2   I, Joseph A. Gonzalez, declare as follows:
 3         1.     I am one of the DOJ attorneys representing defendant Kristi Koons
 4   Johnson in her individual capacity only in this action.
 5         2.     On June 14, 2021, I held a Local Rule 7-3 Conference of Counsel
 6   with plaintiff’s counsel William Wargo, Esq. regarding the arguments in support of
 7   dismissing ADIC Johnson from Louis Loe v. U.S. et al., 2:21-cv-03348-RGK-
 8   MAR, a case with the same claims, defendants, and allegations. We also had
 9   another conference on August 27, 2021 to discuss variations between the initial
10   Complaint and the FAC in this case. We were unable to resolve our differences.
11         I declare under penalty of perjury under the laws of the United States of
12   America that the foregoing is true and correct and that this declaration is executed
13   in Washington, D.C. on August 30, 2021.
14                                                               /s/
15                                                        Joseph A. Gonzalez

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